
In re Gunn, Hattie D.; Gunn, Alfred M.; — Plaintiffs); applying for writ of cer-tiorari and/or review; to the Court of Appeal, Third Circuit, No. CA90-1272; Parish of Rapides, Ninth Judicial District Court, Div. “C”, No. 150,451.
Granted. Judgment of the court of appeal remanding the case for a new trial is vacated. Case remanded to the court of appeal to reconsider the jury instruction in view of Simon v. Ford Motor Co., 282 So. *958126 (La.1973) (on rehearing). In the event the court still finds the instruction erroneous, it should decide the case on the basis of the record before it. Gonzales v. Xerox Corp., 320 So.2d 163 (La.1975).
LEMMON, J., concurs.
